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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

United States Courts
Southern District of Texas

UNITED STATES DISTRICT COURT FILED
for the MAY 28 2019

Southern District of Texas
David J. Bradiey, Clerk of Court

19 WW 191¢

Houston Division

Nikolson Lacour ‘ Case No.

 

(to be filled in by the Clerk's Office)

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

Jury Trial: (check one) [¥]¥es [_]No

Apache Corporation

 

. Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT FOR EMPLOYMENT DISCRIMINATION

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name Nikolson Lacour
Street Address 5707 Iron Horse
City and County Missouri City, Fort bend
State and Zip Code Texas 77459
Telephone Number 9738556561
E-mail Address nikolsonlacour@gmail.com

 

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

 

 

 

 

 

 

Name Apache Corporation

Job or Title (if known)

Street Address 2000 Post Oak Boulevard Suite 100
City and County Houston, Harris

State and Zip Code Texas 77056-4400

Telephone Number (713) 296-6000

E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

 

 

 

 

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

 

 

 

 

 

E-mail Address (if known)

 

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Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

 

 

 

 

Name Apache Corporation
Street Address 17802 Frontage Rd #300
City and County San Antonio, Bexar
State and Zip Code Texas, 78257

Telephone Number (201) 678-3900

 

II. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

OO Oo

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law):

 

Relevant state law (specify, if known):

 

Relevant city or county law (specify, if known):

 

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II.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

HOOOOSU

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
Federal employment discrimination statutes.)

 

 

 

 

 

 

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
08/03/2019
Cc. I believe that defendant(s) (check one):
[J is/are still committing these acts against me.
is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
race Black / African American
[ ] color
CJ gender/sex
C] religion
national origin Haitian
C] age (vear of birth) (only when asserting a claim of age discrimination.)
CJ disability or perceived disability (specify disability)

 

E. The facts of my case are as follows. Attach additional pages if needed.

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| was hired on July 17th 2018 as a Scada Engineer to support the team. In an engineering meeting,
management that had direct power on my continuing employment said that they were willing to work with
an engineer, but they will not because he came in this country with his arrogant French accent think he
can teach them about statistics. | have a French accent, | sent the email about statistics. In presence of
management, the defendant allow other coworker to yell at me, while other races were treated with
respect. Coworkers said publicly, with witnesses, that more fried chicken restaurant will be needed in the
area since more people are coming. Coworkers said publicly that they will need slaves for their lawn but
nowadays they are expensive. Management had meeting with coworkers to reject the defendant.

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

Exhaustion of Federal Administrative Remedies

 

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

08/21/2018
B. The Equal Employment Opportunity Commission (check one):
[J has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter, which I received on (date) 03/25/2019

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

C] 60 days or more have elapsed.
] less than 60 days have elapsed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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Declare the conduct engaged in by Defendants to be in violation of Plaintiff's rights; enjoin Defendant from
engaging in such conduct; order front salary and benefits for the period Plaintiff took a new job less wage until the
6-months the contract supposed to last at least before the plaintiff become permanent in the amount of $56,700;
award Plaintiff equitable relief of back salary and fringe benefits up to the date of finding a new job; award Plaintiff
compensatory and punitive damages of $35,500; award Plaintiff costs and attorney's fees in the amount of
$2,500; and grant such other relief as it may deem just and proper.

 

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 05/28/2019

Signature of Plaintiff

 

Printed Name of Plaintiff Nikolson Lacour

 

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

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